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  IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

     MIDDLE DISTRICT OF ALABAMA, NORTHERN DIVISION


UNITED STATES OF AMERICA          )
                                  )        CRIMINAL ACTION NO.
     v.                           )          2:17cr430-MHT
                                  )               (WO)
TIMOTHY JASON ECKERMAN            )

              PRELIMINARY ORDER OF FORFEITURE

    WHEREAS, the United States of America gave notice

to defendant Timothy Jason Eckermann in the indictment

(doc. no. 1) that it would seek the forfeiture of all

property used or intended to be used in any manner or

part to commit and to facilitate the commission of the

offenses in violation of        18 U.S.C. § 922(g)(1); and,

    WHEREAS, defendant consents to the forfeiture of

specific property;

    It is hereby ORDERED that the government’s motion

for a preliminary order of forfeiture (doc. no. 75) is

granted as follows:

    1. As a result of the guilty plea on Count 1 of the

indictment, the defendant shall forfeit to the United

States, pursuant to 18 U.S.C. § 924(d)(1) by 28 U.S.C.
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§ 2461(c) any and all firearms and ammunition involved

in the commission of the offenses in violation of 18

U.S.C. § 922(g)(1).

    2.     The   court    has   determined    that      the   following

property is subject to forfeiture pursuant to 18 U.S.C.

§ 924(d)(1) by 28 U.S.C. § 2461(c); that the defendant

has an interest in such property; and, that the United

States has established the requisite nexus between such

property and such offenses: a Haskell, model JHP .45

caliber    pistol,       bearing    serial    number      X432144;       a

Romarm/Cugir, model GP WASR 10/63, .762 caliber rifle,

bearing    serial    number     IT-3055-79      and     miscellaneous

ammunition.

    3.     Upon the entry of this order, the United States

Attorney      General      is      authorized      to     seize        the

above-listed property and conduct any discovery proper

in identifying, locating or disposing of the property

subject to forfeiture, in accordance with Federal Rule

of Criminal Procedure 32.2(b)(3).




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     4.    Upon entry of this order, the United States

Attorney      General       is    authorized      to      commence       any

applicable proceeding to comply with statutes governing

third-party       rights,    including     giving      notice   of    this

order.

     5.    The United States shall publish notice of the

order and its intent to dispose of the property in such

a   manner   as    the   United    States     Attorney      General      may

direct.      The United States may also, to the extent

practicable, provide written notice to any person known

to have an alleged interest in the subject property.

     6.    Any     person,       other     than     the     above-named

defendant, asserting a legal interest in the subject

property      may,    within      thirty     days      of    the     final

publication of notice or receipt of notice, whichever

is earlier, petition the court for a hearing without a

jury to adjudicate the validity of his alleged interest

in the subject property, and for an amendment of the

order of forfeiture, pursuant to 28 U.S.C. § 2461(c)

which incorporates 21 U.S.C. § 853(n)(6).


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    7.   Any petition filed by a third party asserting

an interest in the subject property shall be signed by

the petitioner under penalty of perjury and shall set

forth the nature and extent of the petitioner’s right,

title, or interest in the subject property, the time

and circumstances of the petitioner’s acquisition of

the right, title or interest in the subject property,

and any additional facts supporting the petitioner’s

claim and the relief sought.

    8.   After the disposition of any motion filed under

Federal Rule of Criminal Procedure 32.2(c)(1)(A) and

before   a   hearing       on   the   petition,    discovery    may    be

conducted in accordance with the Federal Rules of Civil

Procedure    upon      a    showing       that   such   discovery      is

necessary or desirable to resolve factual issues.

    9.   The United States shall have clear title to the

subject property following the court’s disposition of

all third-party interests, or, if no such petitions are

filed, following the expiration of the period provided

in 21 U.S.C. § 853(n)(2), which is incorporated by 28


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U.S.C.       §     2461(c),     for    the    filing    of     third-party

petitions.

       10. The court shall retain jurisdiction to enforce

this order and to amend it as necessary pursuant to

Federal Rule of Criminal Procedure 32.2(e).

       11. It is further ORDERED that the clerk of the

court shall note entry of this order in writing on the

Judgment in a Criminal Case and forward a certified

copy    of       this   order   to    the    United   States   Attorney’s

Office.

       DONE, this the 26th day of March, 2018.

                                         /s/ Myron H. Thompson
                                      UNITED STATES DISTRICT JUDGE
